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EXHIBIT H
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TAX MATTERS AGREEMENT

THIS TAX MATTERS AGREEMENT (“Agreement”), dated as of
2009, is made by Ricketts Acquisition LLC, a Delaware limited liability company (“Ricketts”),
MMR TMA GuarantyCo, LLC (“GuarantyCo” and, together with Ricketts, the “Ricketts
Parties”), Chicago Baseball Holdings, LLC, a Delaware limited liability company (the
“Company’’), Tribune Company, a Delaware corporation (“Tribune”), Chicago National League
Ball Club, LLC, a Delaware limited liability company (which will change its name to

, LLC) (“Cubs LLC”), Tribune Sports Network Holdings, LLC, a Delaware limited
liability company (which will change its name to , LLC) (“Tribune Sports”), Wrigley
Field Premium Ticket Services, LLC, a Delaware limited liability company (which will change
its name to , LLC) (“Premium Tickets LLC”), Diana-Quentin, LLC, a Delaware
limited liability company (which will change its name to , LLC) (“DQ LLC”), and
Chicago Cubs Dominican Baseball Operations, LLC, which will change its name to
LLC) (together with Cubs LLC, Tribune Sports, Premium Tickets LLC and DQ LLC, the
“Tribune Members”).

WHEREAS, pursuant to the Formation Agreement, Ricketts, Tribune and the
Tribune Members, which are disregarded as entities separate from Tribune for Federal tax
purposes, have contributed certain assets to the Company (or its wholly owned subsidiaries that
are disregarded as entities separate from the Company for Federal tax purposes) in exchange for
membership interests in the Company;

WHEREAS, pursuant to the Formation Agreement, the Company and Ricketts
have agreed to make certain undertakings to the Protected Members as provided herein;

NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
parties agree as follows:

1. Definitions. All capitalized terms used and not otherwise defined in this
Agreement shall have the meaning set forth in the Formation Agreement. As used herein, the
following terms have the following meanings:

“Blocked Account” has the meaning set forth in Section 10(c).

“Cash Equivalents” means, as of any date of determination, (i) marketable securities (a)
issued or directly and unconditionally guaranteed as to interest and principal by the United States
Government or (b) issued by any agency of the United States the obligations of which are backed
by the full faith and credit of the United States; (ii) marketable direct obligations issued by any
State of the United States of America or any political subdivision of any such State or any public
instrumentality thereof which, at the time of acquisition, have one of the two highest ratings
obtainable from either S&P or Moody’s; (iii) commercial paper having, at the time of the
acquisition thereof, a rating of at least A-1 from S&P or at least P-1 from Moody’s; (iv)
certificates of deposit or bankers’ acceptances issued or accepted by any commercial bank
organized under the laws of the United States of America or any state thereof or the District of
Columbia that (a) is at least “adequately capitalized” (as defined in the regulations of its primary

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Federal banking regulator) and (b) has Tier 1 capital (as defined in such regulations) of not less
than $100,000,000; and (v) shares of any money market mutual fund that (a) has substantially all
of its assets invested continuously in the types of investments referred to in clauses (i) and (ii)
above, (b) has net assets of not less than $500,000,000, and (c) has the highest rating obtainable
from either S&P or Moody’s.

“Closing Date” has the meaning set forth in the Formation Agreement.

“Code” means the Internal Revenue Code of 1986, as amended, and corresponding
provisions of any successor law.

“Company Operating Agreement” means the Amended and Restated Limited Liability
Company Agreement of the Company, dated as of the date hereof.

“Computation Statement” has the meaning set forth in Section 3(a)(iv) hereof.
“CSN Chicago” has the meaning set forth in the Formation Agreement.

“Cubs Contributed Assets” has the meaning set forth in the Formation Agreement.
“Cubs Newco Sub” has the meaning set forth in the Formation Agreement.

“Debt Financing” has the meaning set forth in the Formation Agreement.

“Estimated Special Distribution Amount” has the meaning set forth in the Formation
Agreement.

“Final Special Distribution Amount” has the meaning set forth in the Formation
Agreement.

“Formation Agreement” means that certain Formation Agreement dated as of
2009, by and among Ricketts, RAC Education Trust OSA, LLC, a Delaware limited liability
company, Tribune and the Tribune Members.

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“Indemnitors” means the Company and the Ricketts Parties.

“Indemnity Escrow Account” has the meaning set forth in the Formation Agreement.
“Indemnity Escrow Agreement” has the meaning set forth in the Formation Agreement.
“Indemnity Escrow Amount” has the meaning set forth in the Formation Agreement.
“LLC Debt” means the Debt Financing and any Refinancing Debt.

“Loan Documents” has the meaning set forth in the Company Operating Agreement.
“Major League Baseball” has the meaning set forth in the Formation Agreement.

“Major League Baseball Entity” has the meaning set forth in the Formation Agreement.

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“Major League Clubs” has the meaning set forth in the Formation Agreement.

“Make-Whole Payment” means a payment in an amount equal to the sum of the Base
Amount and the Gross-Up Amount, as those terms are defined in Section 3 hereof.

“Maximum Guaranty Amount” means Twenty Million Dollars ($20,000,000).
“Member” has the meaning set forth in the Company Operating Agreement.
“Membership Interests” means membership interests in the Company.

“Mueller Building and the T-Building Property” has the meaning set forth in the
Formation Agreement.

“Minimum Debt Amount” means, with respect to the periods set forth on Exhibit A
hereof, LLC Debt with an outstanding principal amount as set forth on Exhibit A hereof.

“MLB Interest” has the meaning set forth in the Formation Agreement.
“Moody’s” means Moody’s Investors Service, Inc.

“Obligations” has the meaning set forth in the Company Operating Agreement.

“Permitted Disposition” has the meaning set forth in the Company Operating Agreement.

“Person” has the meaning set forth in the Company Operating Agreement.

“Plan of Reorganization” has the meaning set forth in the Company Operating
Agreement.

“Protected Member’ means each of the Tribune Members, Tribune and any permitted
successors or assigns.

“Protected Period” means the period beginning on the Closing Date and ending on
January 1, 2018.

“Protected Properties” means each of the Tribune Cubs Contributed Assets that was
owned by Tribune and its Affiliates on December 31, 2007, and any property acquired by the
Company or any entity in which the Company holds a direct or indirect interest in exchange for

any such Protected Property that is “substituted basis property” as defined in Section 7701(a)(42)

of the Code with respect to any such Protected Property.

“Purchased Asset Value” means an amount, if any, equal to the Estimated Special
Distribution Amount minus the net proceeds of the Debt Financing received by the Company.

“Refinancing Debt” means debt treated as indebtedness for Federal income tax purposes
that meets all of the following conditions: The debt is (i) allocable under the rules of Treasury
Regulations Section 1.163-8T to payments discharging all or part of the Debt Financing or an
earlier Refinancing Debt; (ii) owed by the Company (or an entity that is disregarded as an entity

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separate from the Company for Federal income tax purposes) to a Person that is not related
within the meaning of Treasury Regulations Section 1.752-4(b) to any Member of the Company,
and (ii) is subject to a guarantee obligation of Tribune substantially in the form of the Tribune
Guarantee in favor of the lender or lenders with respect to such indebtedness. Notwithstanding
the foregoing, Refinancing Debt shall include (A) any indebtedness that would be Refinancing
Debt but for Tribune’s breach of its obligation under Section 6 hereof; (B) any indebtedness that
would be Refinancing Debt but for the fact that it is owed to a Person that is related within the
meaning of Treasury Regulations Section 1.752-4(b) to a Member of the Company, but only if
and to the extent that the total amount of such related Person indebtedness does not exceed the
sum of (1) the total amount of related Person indebtedness that was included in the Debt
Financing, and (2) the amount of any Debt Financing owed to a Person that is not related within
the meaning Treasury Regulations Section 1.752-4(b) to a Member of the Company that is
required to be repaid to comply with any Written MLB Requirement relating to the maximum
amount of indebtedness that the Company and its subsidiaries may maintain; and (C) any
indebtedness that would be Refinancing Debt with respect to indebtedness included in the Debt
Financing but for a final judicial or administrative determination that such indebtedness does not
constitute indebtedness for Federal income tax purposes, but only if such indebtedness is
Substitute Debt.

“Remedial Reduction Amount” has the meaning set forth in Section 5(g).

“Remedial Shortfall Amount” means, as of the last day of any taxable year of the
Company, a positive amount, if any, equal to (i) the original principal amount of the Debt
Financing minus the Minimum Debt Amount as of such date, minus (11) the cumulative amount
of remedial items of income and gain allocated to the Tribune Members by the Company
pursuant to Treasury Regulation Section 1.704-3(d) as of such date.

“Ricketts Subordinated Loan Commitment Agreement” has the meaning set forth in the
Company Operating Agreement.

“S corporation” has the meaning ascribed thereto in Section 1361(a)(1) of the Code.

“S&P” means Standard & Poor’s Ratings Group, a division of The McGraw Hill
Corporation.

“Schedule 5(f)” has the meaning set forth in Section 5(f) hereof.
“Senior Debt Financing” has the meaning set forth in the Formation Agreement.

“Substitute Debt” means indebtedness evidenced by a promissory note that (a) provides
for a fixed rate of interest or a variable rate of interest that constitutes a “qualified floating rate”
within the meaning of Treasury Regulations Section 1.1275-5(b); (b) provides a fixed maturity
date for the payment of all unpaid principal and interest; (c) does not allow for the deferment of
the payment of any principal or interest to a greater extent than the LLC Debt with respect to
which such indebtedness would be Refinancing Debt; (d) does not determine the amount or time
for payment of principal or interest based on the profits or distributions of the Company or any
subsidiary of the Company; (e) has a term that is not more than the greater of six (6) years or the
term of the LLC Debt with respect to which such indebtedness would be Refinancing Debt; (f)

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provides terms of, and remedies for, default that are substantially identical to the LLC Debt with
respect to which such indebtedness would be Refinancing Debt: ( g) does not provide rights to the
lender with respect to management of the Company or assets owned directly or indirectly by the
Company to a greater extent than the LLC Debt with respect to which such indebtedness would
be Refinancing Debt; (h) provides terms related to subordination, security, collateral, guarantees
and other credit enhancements that are substantially identical to the LLC Debt with respect to
which such indebtedness would be Refinancing Debt; (i) is not convertible into equity of the
Company or any subsidiary of the Company; and (j) prior to a final Judicial or administrative
determination that such indebtedness does not constitute indebtedness for Federal income tax
purposes, is characterized and reported by the Company, the lender(s) and any other party to
such indebtedness as indebtedness for state law and for Federal, state and local income tax
purposes.

“Treasury Regulations” means final and temporary regulations promulgated under the
Code.

“Tribune Cubs Contributed Assets” has the meaning set forth in Section 5(a)(i) hereof.
“Tribune Guarantee” shall have the meaning set forth in the Formation Agreement.
“Trigger Event” shall have the meaning set forth in Section 3(a) hereof.

“Unpaid Portion” shall have the meaning set forth in Section 3(a)(iii) hereof.
“Wrigley Field” has the meaning set forth in the Formation Agreement.

“Written MLB Requirement” means any provision of any Major League Baseball
Governing Document or any order or directive of any Major League Baseball Entity which is set
forth in writing to Cubs Newco Sub, provided that (i) no such order or directive shall be
considered a Written MLB Requirement (A) to the extent that Cubs Newco Sub or any of its
affiliates solicits or encourages the Major League Baseball Entity to issue such order or directive,
or (B) if such order or directive relates to an asset of the Company or any of its subsidiaries
(other than an MLB Interest) or the maximum amount of indebtedness that the Company and its
subsidiaries may maintain, the Company and Cubs Newco Sub have not used reasonable best
efforts to cause the Major League Baseball Entities to waive or limit the scope of such
requirement, (ii) with respect to any interest in any MLB Interest, such order or directive shall be
considered a Written MLB Requirement only to the extent that all or substantially all Major
League Clubs are participating pro rata in the applicable transaction, and (111) such order or
directive does not involve Cubs Newco Sub’s ownership interest in CSN Chicago or any parent
or successor thereto or Wrigley Field. For purposes of determining whether an order or directive
is a Written MLB Requirement, (x) a request that a prior oral order or directive be delivered in
writing shall not be considered a solicitation or encouragement of such order or directive if the
Company consults with the Protected Member regarding such request prior to making such
request or as soon as reasonably practicable thereafter; and (y) if any Major League Club is
subject to any legal or contractual restriction on the disposition of an MLB Interest which
restriction is not generally applicable to all Major League Clubs, such Major League Club shall

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not be taken into account in determining whether the condition set forth in clause (11) hereof is
satisfied.

2. Restrictions on Triggering Tax Gain

(a)

(i) At all times throughout the Protected Period, (A) the Company
agrees, for the benefit of each Protected Member, that neither the Company nor any entity in
which the Company holds a direct or indirect interest will (1) directly or indirectly sell, transfer,
exchange, or otherwise dispose (including any transaction that is deemed to be or is treated as a
sale, transfer, exchange or disposition for Federal income tax purposes) of any Protected
Property in a taxable transaction for Federal income tax purposes (including for this purpose a
transaction described in Section 704(c)(1)(B) or Section 737 of the Code), or (2) directly or
indirectly contribute any Protected Property to an entity, including a transaction that is deemed to
be or is treated as a contribution to an entity for Federal income tax purposes (including, but not
limited to, the issuance of an interest in an entity disregarded as separate from its owner for
Federal income tax purposes to a Person that results in such entity being treated as a partnership
for Federal income tax purposes and any election to treat an entity as a corporation for Federal
income tax purposes), in a nontaxable transaction other than to an entity that is and remains
throughout the Protected Period either an entity that is disregarded as separate from the
Company for Federal tax purposes or an entity that is treated as a partnership for Federal income
tax purposes, and (B) the Indemnitors agree, for the benefit of each Protected Member, that none
of Ricketts, Ricketts’ members, nor the Company will directly or indirectly take any action or
fail to take any action if such action or inaction results in a Remedial Shortfall Amount for a
taxable year.

(ii) Section 2(a)(i) hereof shall not apply with respect to a sale,
transfer, exchange or other disposition of Protected Property as a result of an involuntary
conversion within the meaning of Section 1033 of the Code, and the Company shall have no
obligation to replace such Protected Property in a manner that allows the gain to be deferred
under section 1033 of the Code, but if such Protected Property is in fact replaced in a manner
that would allow the gain to be deferred under Code Section 1033, the Company shall elect
under Code Section 1033 to defer such gain.

(iii) Section 2(a)(i) hereof shall not apply with respect to the sale,
transfer, exchange or other disposition of (A) inventory or other assets in the ordinary course of
operating the business of the Company and its Subsidiaries, provided that the total amount of
“recognized built-in gain” (within the meaning of Section 1374(d)(3) of the Code) allocable to
Tribune (or, if Tribune is a C corporation, income and gain allocated directly or indirectly to
Tribune under Section 704(c) of the Code to the extent such income or gain would be
“recognized built-in gain (within the meaning of Section 1374(d)(3) of the Code) if Tribune were
an S corporation) with respect to such dispositions but excluded pursuant to this Section
2(a)(i1i)(A) shall not exceed One Million Dollars ($1,000,000) in any taxable year of the
Company, (B) player contracts, provided that the total amount of “recognized built-in gain”
(within the meaning of Section 1374(d)(3) of the Code) allocable to Tribune (or, if Tribune is a
C corporation, income and gain allocated directly or indirectly to Tribune under Section 704(c)

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of the Code to the extent such income or gain would be “recognized built-in gain (within the
meaning of Section 1374(d)(3) of the Code) if Tribune were an S corporation) with respect to
such dispositions but excluded pursuant to this Section 2(a)(iii)(B) shall not exceed Twenty
Million Dollars ($20,000,000) in any taxable year of the Company and Forty Million Dollars
($40,000,000) in the aggregate during the Protected Period, and (C) the Company’s interest in
any Protected Property if such sale, transfer, exchange, or disposition is required to be made to
comply with any Written MLB Requirement.

(b) At all times throughout the Protected Period, the Company agrees, for the
benefit of each Protected Member to maintain, on a continuous basis, an amount of LLC Debt
equal to or greater than the Minimum Debt Amount; provided, however, that it shall not be a
breach of this Section 2(b) to the extent the failure to maintain an amount of LLC Debt equal to
or greater than the Minimum Debt Amount results from (i) the rejection or invalidation of a
Tribune Guarantee, (ii) the declaration that any Tribune Guarantee is unenforceable by any court
under any provision of the United States Bankruptcy Code or any other law of the United States
or of any State, or (ii) the repayment of any indebtedness as required to comply with any
Written MLB Requirement relating to the maximum amount of indebtedness that the Company
and its subsidiaries may maintain, provided, however, that in the event that such repayment is
made with proceeds received directly or indirectly from the Ricketts Parties or any Affiliate,
such repayment shall be made with proceeds from Refinancing Debt from such Ricketts Parties
or any such Affiliate, and provided further that, to the extent such repayment is made with
proceeds received directly or indirectly from a Person that is not a Ricketts Party or Affiliate,
then the Ricketts Parties shall utilize their reasonable best efforts to make such repayment with
Refinancing Debt.

(c) Each Protected Member hereby acknowledges and agrees that none of the
Company, any Indemnitor, or any party affiliated with or related to any of them makes any
representation or warranty regarding the Federal, state or local income tax consequences of the
formation of the Company or the payment of the Estimated Special Distribution Amount or Final
Special Distribution Amount.

3, Indemnity for Breach of Obligations Set Forth in Section 2

(a)

(i) In the event that the Company breaches its obligation set forth in
Section 2 hereof to any Protected Member (a “Trigger Event”), Indemnitors shall be jointly and
severally obligated to pay to such Protected Member as damages an amount (the “Base
Amount”) equal to the aggregate Federal, state and local income taxes incurred by such
Protected Member thereof as a result of the income and gain recognized by or directly or
indirectly allocated under Section 704(c) of the Code (to the extent based upon the difference
between fair market value and adjusted basis of the Tribune Cubs Contributed Assets on the
Closing Date, and without regard to income or gain in excess of such built-in gain) to such
Protected Member by reason of such Trigger Event plus an additional amount (the “Gross-Up
Amount”) so that, after the payment by such Protected Member of all taxes on amounts received
pursuant to this Section 3(a), such Protected Member retains an amount equal to the Base
Amount. Notwithstanding the foregoing, GuarantyCo’s obligation to make any Make-Whole

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Payment under this Section 3 shall not, in the aggregate, exceed the Maximum Guaranty
Amount.

(i) In the event that Indemnitors become aware of a breach of Section
2 hereof with respect to a Protected Member, Indemnitors shall (1) promptly notify such
Protected Member in writing of such Trigger Event and of the sales price or other amount
realized for income tax purposes in connection therewith, the Remedial Shortfall Amount, or the
amount by which the Minimum Debt Amount exceeded the outstanding principal amount of
LLC Debt and (2) provide the Protected Member with copies of all operative documents relating
to the Trigger Event and such other relevant materials as may be reasonably requested by the
Protected Member.

(ii) | After receipt of such notice, the Protected Member shall provide
Indemnitors with any information reasonably requested by Indemnitors of the Protected Member
to enable Indemnitors to verify the computation of the Make-Whole Payment. The Protected
Member shall provide such information within thirty (30) days of such request.

(iv) | The Protected Member shall prepare a computation of the Make-
Whole Payment owing to such Protected Member under this Section 3 with respect to a taxable
year (a “Computation Statement”), which shall be delivered to Indemnitors no later than the later
of (A) sixty (60) days after the end of any taxable year for which a Make-Whole Payment is due
and (B) thirty (30) days after the delivery of the information required to be delivered pursuant to
Section 3(a)(iii). Indemnitors shall make any required Make-Whole Payment owing to the
Protected Member pursuant to this Section 3 no later than ten (10) days after delivery by the
Protected Member of such computation. Notwithstanding the foregoing, if the Indemnitors do
not agree with such computation, within ten (10) days after delivery by the Protected Member of
such computation (x) the Indemnitors shall pay the undisputed amount of any Make-Whole
Payment to the Protected Member and (y) the Indemnitors shall deliver to such Protected
Member a reasonably detailed description of the matters in dispute and the Indemnitor’s
proposed calculation of the Make-Whole Payment. Within ten (10) days after resolution of such
disagreement pursuant to Section 3(f) hereof, the Indemnitors shall pay the balance of any Make-
Whole Payment owing to the Protected Member (the “Unpaid Portion”), if any, plus interest on
such Unpaid Portion at the annual rate of ten percent (10%), compounded monthly, computed
from the date that is ten (10) days after delivery by the Protected Member of such computation
through and including the date that such Unpaid Portion is paid.

(b) For purposes of determining the amount of the Make-Whole Payment
payable by Indemnitors, if a Trigger Event occurs in a taxable year (x) for which Tribune is a C
corporation (within the meaning of Section 1361(a)(2) of the Code) or (y) if any Protected
Member assigns its rights under this Agreement in accordance with Section 15, for which the
income or gain with respect to which the Base Amount is calculated is reportable by a C
corporation:

(1) All income arising from a Trigger Event and all payments under
this Section 3 shall be treated as subject to the highest marginal rate of tax applicable to
corporations for Federal income tax purposes and a 6.2% state tax rate, adjusted to reflect the
deductibility of state taxes for Federal income tax purposes. Any amounts giving rise to a

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payment pursuant to Section 3(a) hereof will be determined assuming that the Trigger Event was
the only transaction or event reported on the Protected Member’s tax return (i.e., without giving
effect to any loss carry forwards or other deductions attributable to such Protected Member).

(ii) The Base Amount with respect to a Trigger Event shall be reduced
by the sum of (x) the present value of the Federal and state taxes (applying the tax rates set forth
in Section 3(b)(i)) that would have been incurred by the Protected Member with respect to the
Remedial Reduction Amount that results from such Trigger Event during the period from the
date on which such Trigger Event occurs to the last day of the Protected Period, discounted from
the last day of the taxable years in which such Remedial Reduction Amount would have
otherwise been allocated to the Protected Member to the last day of the taxable year in which the
tax liability with respect to such Trigger Event is incurred by such Protected Member, and (y) the
present value, discounted from the last day of the Protected Period to the last day of the taxable
year in which the additional tax liability with respect to such Trigger Event is incurred, of the
excess of (A) the Base Amount, over (B) the aggregate Federal and state taxes (applying the tax
rates set forth in Section 3(b)(i)) that would have been incurred by such Protected Member with
respect to the Remedial Reduction Amount described in clause (x) of this Section 3(b)(ii). The
present values computed under this Section 3(b)(ii) shall be determined by applying a discount
rate of ten percent (10%) per annum, compounded annually. If, pursuant to a change in law after
the date hereof or a final judicial or administrative determination, the Protected Member must
recognize any portion of the Remedial Reduction Amount resulting from such Trigger Event
with respect to any taxable year, the Base Amount computed pursuant to this Section 3(b)(ii)
shall be adjusted so that such recognized Remedial Reduction Amount is not taken into account
in such computation of the Base Amount with respect to such Trigger Event.

(c) For purposes of determining the Make-Whole Payment payable by
Indemnitors if a Trigger Event occurs in a taxable year to which subsection (b) of this Section 3
does not apply:

(1) The Base Amount payable to Tribune shall equal (a) the amount of
“built-in gains tax” under Section 1374 of the Code and payable by Tribune as a result of such
Trigger Event assuming the application of the highest Federal tax rates applicable to such gain
and that Tribune’s “net recognized built-in gain” for such year equals the amount of “recognized
built-in gain” triggered by such event plus, (b) any state tax payable as a result of such Trigger
Event determined by applying a 4.65% state tax rate applicable to the amount of built-in gain as
determined under Section 3(c)(i)(a) hereof and making the same assumption regarding the
amount of “net recognized built-in gain,” provided, however, that the portion of the Base
Amount payable to Tribune for any taxable year shall not exceed the amount of tax payable by
Tribune with respect to its actual “net recognized built-in gain” under Section 1374 of the Code
for such taxable year assuming the same Federal and state tax rates set forth in Sections 3(c)(i)(a)
and (b) apply to such “net recognized built-in gain.” Any unpaid portion of the Base Amount
payable to Tribune for a taxable year shall be payable in the next succeeding taxable year(s) to
the extent of the amount of tax payable by Tribune with respect to its “net recognized built-in
gain” under Section 1374 of the Code for such taxable year(s) assuming the same Federal and
state tax rates set forth in Section 3(c)(i)(a) and (b) apply to such “net recognized built-in gain.”
The amount of Tribune’s “net recognized built-in gain” under Section 1374 for a taxable year, as
certified by Tribune’s Chief Financial Officer, shall be set forth in the Computation Statement

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for such taxable year. For the avoidance of doubt, if a Trigger Event occurring in the 2010
taxable year triggered $10 million of “recognized built-in gain,” and Tribune in the 2010 taxable
year also had $20 million of “recognized built-in loss,” no portion of the Base Amount would be
payable for the 2010 taxable year. If in the 2011 taxable year, Tribune had $10 million of “net
recognized built-in gain” and its taxable income (within the meaning of Section
1374(d)(2)(A)(ii) of the Code) for the 2011 taxable year were $6 million, then a portion of the
Base Amount equal to the tax on $6 million (assuming the same Federal and state tax rates set
forth in Section 3(c)(i)(a) and (b)) would be payable for the 2011 taxable year. If in the 2012
taxable year, Tribune had no additional “recognized built-in gain or loss” and its taxable income
(within the meaning of Section 1374(d)(2)(A)(ii) of the Code) for the 2012 taxable year were
$10 million, then a portion of the Base Amount equal to the tax on $4 million (assuming the
same Federal and state tax rates set forth in Section 3(c)(i)(a) and (b)) would be payable for the
2012 taxable year.

(ii) | No Gross-Up Amount shall be payable to the extent that the receipt
of the Base Amount by Tribune does not give rise to “recognized built-in gain” under Section
1374 of the Code.

(ili) For purposes of this Section 3(c), Tribune shall be deemed to
include any of its qualified subchapter S subsidiaries as defined in Section 1361(b)(3) of the
Code.

(d) Notwithstanding anything to the contrary herein, if a Tri gger Event occurs
in a taxable year in which Tribune is not the sole Protected Member or is not an S corporation,
the aggregate Make-Whole Payments made to all Protected Members shall not exceed the Make-
Whole Payment that would have been due to Tribune if it were at all times the sole Protected
Member and an S corporation.

(e) The sole and exclusive rights and remedies of a Protected Member for a
breach or violation of the covenants set forth in Section 2 shall be a claim for money
indemnification against Indemnitors in the form of the Make-Whole Payment, computed as set
forth in Section 3, and no Protected Member shall be entitled to pursue a claim for any other
damages or for specific performance of the covenant set forth in Section 2 or bring a claim
against any Person that acquires a Protected Property from the Company in violation of Section
2. No Protected Member shall have any right to indemnification by Indemnitors for taxes other
than as provided in this Agreement. Notwithstanding the foregoing, each Tribune Member shall
have all rights and remedies available to it as a Member of the Company pursuant to the Newco
LLC Agreement in its capacity as a Member of Newco with respect to any actions by or relating
to Newco.

(f) If the Company has breached or violated the covenant set forth in Section
2 (or a Protected Member asserts that the Company has breached or violated the covenant set
forth in Section 2), Indemnitors and the Protected Member agree to negotiate in good faith to
resolve any disagreements regarding any such breach or violation and the amount of the Make-
Whole Payment, if any, payable to such Protected Member under this Section 3, including the
amount of built-in gain under Sections 1374 and 704(c) of the Code to report on the tax returns
to be filed by the parties hereto as a result of the Trigger Event. If any such disagreement as to

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tax and Make-Whole Payment calculations cannot be resolved by the Indemnitors and such
Protected Member within thirty (30) days after the delivery by the Protected Member of the
Computation Statement referred to in Section 3(a)(iv) hereof, Indemnitors and the Protected
Member shall jointly retain a nationally recognized independent public accounting firm that has
not provided substantial professional services to any Indemnitor or Protected Member in the
preceding three years (the “Accounting Firm’) to act as an arbitrator to resolve as expeditiously
as possible all points of any such disagreement (including, without limitation, whether a breach
of the covenant set forth in Section 2 hereof has occurred and, if so, the amount of Make-Whole
Payment to which the Protected Member is entitled as a result thereof, determined as set forth in
this Section 3). All determinations made by the Accounting Firm with respect to the resolution
of any breach or violation of the covenant set forth in Section 2 hereof and the amount of the
Make-Whole Payment payable to the Protected Member under this Section 3 shall be final,
conclusive and binding on Indemnitors and the Protected Member. Fifty-two and Sixty-Four
Hundredths Percent (52.64%) of the fees and expenses of the Accounting Firm incurred in
connection with any such determination shall be borne by the Company, and Forty-Seven and
Thirty-Six Hundredths Percent (47.36%) of such fees and expenses shall be borne by the
Protected Member. In the event that Indemnitors and the Protected Member, each having acted
in good faith and with its best efforts to select an Accounting Firm, are unable to retain an
Accounting Firm within sixty (60) days after the thirty (30) day period mentioned above, then
following the expiration of such sixty (60) day period, any disagreement may be settled in any
court of competent jurisdiction, subject to Section 9 hereof.

4. Section 704(c) Method; Nonrecourse Liability Allocation Method. The Company
shall use, and shall cause any other entity in which the Company has a direct or indirect interest
to use the “remedial method” under Regulations Section 1.704-3(d) for purposes of making
allocations under Section 704(c) of the Code with respect to each of the Cubs Contributed Assets
pursuant to Treasury Regulations Sections 1.704-1(b)(2)(iv)(f), 1.704-1(b)(2)(iv)(g), and 1.704-
3(a)(6). Except as provided in the preceding sentence, the Company shall use, and shall cause
any other entity in which the Company has a direct or indirect interest to use, any permissible
method selected by the Ricketts Parties for purposes of making allocations under Section 704(c)
of the Code with respect to all other property contributed to the Company and with respect to any
revaluation of property (excluding the Cubs Contributed Assets) pursuant to Treasury
Regulations Sections 1.704-1(b)(2)(iv)(f), 1.704-1(b)(2)(iv)(g), and 1.704-3(a)(6). “Excess
nonrecourse liabilities” within the meaning of Treasury Regulations Section 1.752-3(a)(3) shall
be allocated in accordance with Percentage Shares (as defined in the Company Operating
Agreement).

5. Certain Tax Reporting

(a) For Federal, state and local income tax purposes, the contributions to the
Company and the distribution of the Estimated Special Distribution Amount pursuant to Section
1.1 and Section 1.2 of the Formation Agreement shall be reported by all parties hereto as
follows:

(i) Tribune shall be treated as contributing an undivided interest in
each Cubs Contributed Asset shown on Schedule 5(f) on the date hereof to the Company in a

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nontaxable contribution pursuant to Section 721(a) of the Code (the “Tribune Cubs Contributed
Assets”’).

(ii) | The Company shall be treated as purchasing from Tribune an
undivided interest in each Cubs Contributed Asset with an aggregate value equal to the
Purchased Asset Value for an amount of cash equal to the Purchased Asset Value.

(iii) The Mueller Building and the T-Building Property shall be treated
as a Cubs Contributed Asset.

(iv) The distribution of the portion of the Estimated Special
Distribution Amount equal to the amount of the net proceeds of the Debt Financing received by
the Company shall be treated as a nontaxable distribution to a partner pursuant to Section 731 of
the Code and Treasury Regulations Section 1.707-5(b) without separate disclosure pursuant to
Section 6662(d)(2)(B)(ii) or any other provision of the Code or Treasury Regulations or similar
provisions of state and local law except as required by a change in law after the date hereof.

(v) The portion of the Estimated Special Distribution Amount equal to
the Indemnity Escrow Amount that is placed into the Indemnity Escrow Account pursuant to the
Indemnity Escrow Agreement shall be treated as distributed to the Tribune Members on the date
that it is placed in the Indemnity Escrow Account.

(b) Pursuant to Notice 89-35, 1989-1 C.B. 675, for purposes of applying the
interest tracing rules of Treasury Regulations Section 1.163-8T, (i) the Company shall treat the
distribution of the portion of the Estimated Special Distribution Amount equal to the net
proceeds of the Debt Financing received by the Company as being made from the proceeds of
the Debt Financing, and (ii) the Company shall treat the distribution of the amount referred to in
Section 5(a)(iv) hereof as not being made from the proceeds of the Debt Financing to the extent
that the Estimated Special Distribution Amount exceeds the amount of the Debt Financing.
Interest expense on such proceeds shall be allocated in accordance with the general allocation
tule of section V.A. of Notice 89-35.

(c) Reserved.

(d) Except with respect to any Refinancing Debt that is not guaranteed by
Tribune, all tax returns filed by the Company shall report the outstanding principal amount of all
LLC Debt as a recourse liability allocable solely to the Protected Members except as required by
a change in law after the date hereof.

(e) For Federal, state and local tax purposes, the LLC Debt shall not be
treated as “partner nonrecourse debt” nor as a “partner nonrecourse liability” within the meaning
of Treasury Regulations Section 1.704-2(b)(4) except as required by a change in law after the
date hereof.

(f) As promptly as practicable after the date hereof, the parties shall cooperate
in preparing schedules (“Schedule 5(f)”) setting forth the amount of built-in gain within the
meaning of Section 704(c) of the Code with respect to the Tribune Cubs Contributed Assets as of
the Closing Date and the allocation of such built-in gain among the Tribune Cubs Contributed

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Assets. Schedule 5(f) shall be consistent with the allocation of the fair market value of the Cubs
Contributed Assets as set forth in Exhibit B attached hereto. The parties acknowledge that
Tribune intends to report the amount of net unrealized built-in gain within the meaning of
Section 1374 of the Code with respect to the Protected Property as of December 31, 2007, as
being equal to the amount of built-in gain within the meaning of Section 704(c) of the Code with
respect to the Tribune Cubs Contributed Assets as of the Closing Date. The parties shall file
their tax returns in a manner consistent with Schedule 5(f).

(g) For Federal, state and local tax purposes, any gain recognized by the
Protected Member with respect to the Protected Member’s membership interest in the Company
pursuant to Section 731(a) of the Code that gives rise to a positive adjustment to the basis of a
Tribune Cubs Contributed Asset pursuant to Section 734(b) of the Code shall be treated as
reducing the remedial income allocations under Treasury Regulations Section 1.704-3(d) that
would otherwise be made to the Protected Member with respect to such Tribune Cubs
Contributed Asset (the amount of such reduction to such allocation of remedial income to the
Protected Member, the “Remedial Reduction Amount”), except as required by a change in law
after the date hereof.

6. Refinancing Debt.

(a) Tribune shall enter into a guarantee obligation as described in paragraph
(iii) of the definition of Refinancing Debt extending through the date that is six months and one
day after the end of the Protected Period with respect to any indebtedness that meets the
requirements of paragraphs (i) through (ii) of the definition of Refinancing Debt.

(b) For the avoidance of doubt, any significant modification (within the
meaning of Treasury Regulations Section 1.1001-3(e)) of an LLC Debt shall be treated as the
incurrence of new indebtedness for purposes of this Agreement and must satisfy the
requirements set forth in the definition of Refinancing Debt.

7. Tax Contests

(a) In the event that the Internal Revenue Service or any other tax authority
asserts a claim or raises an issue in the course of an audit or other tax proceeding involving a
Protected Member that could result in an obligation of Indemnitors to make a Make-Whole
Payment (or increase the amount of any Make-Whole Payment), the Protected Member shall
promptly notify Indemnitors. Indemnitors shall have the right to contest, at their own expense,
any such claim or issue through appropriate administrative and judicial proceedings, and the
Protected Member shall cooperate with Indemnitors in connection with the conduct of any such
contest and shall not settle or otherwise compromise such contest without the consent of
Indemnitors.

(b) In the event that the Internal Revenue Service or any other taxing authority
makes a claim or raises an issue in any partnership-level audit or other proceeding of the
Company which could result in disallowance of the tax treatment set forth in Section 5(a) hereof
or would result in any LLC Debt not being treated as indebtedness for Federal tax purposes, the
Company shall promptly notify Tribune. Tribune shall have the right to contest, at its own

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expense, any such claim or issue through appropriate administrative or judicial proceedings, and
Indemnitors shall cooperate with Tribune in connection with the conduct of any such contest and
shall not settle or otherwise compromise such contest without the consent of Tribune.

8. Governing Law. This Agreement and any disputes arising hereunder or
controversies related hereto shall be governed by and construed in accordance with the laws of
the State of Delaware applicable to contracts made and performed in such State without regard to
any choice or conflict of law provision or rule (whether of the State of Delaware or any other
jurisdiction) to the extent they would result in the application of the laws of another jurisdiction.

9. Submission to Jurisdiction; Consent to Service of Process

(a) Any Action with respect to this Agreement shall be brought exclusively in
the state or federal courts sitting in the State of Delaware. By execution and delivery of this
Agreement, each party hereto hereby accepts for itself and in respect of such party’s property,
generally and unconditionally, the sole and exclusive jurisdiction of the aforesaid courts and
appellate courts thereof. Each party hereto hereby irrevocably and unconditionally waives any
objection which such party may now or hereafter have to the laying of venue of any of the
aforesaid actions or proceedings arising out of or in connection with this Agreement brought in
the courts referred to above and hereby further irrevocably agrees, to the extent permitted by
applicable law, not to plead or claim in any such court that any such Action brought in any such
court has been brought in an inconvenient forum. Notwithstanding anything in this Section 9(a)
to the contrary, each party agrees that a final judgment in any such Action shall be conclusive
and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law. For purposes of this Section 9, “Action” shall mean any pending action (at law
or in equity), suit, arbitration, or proceeding.

(b) Each of the parties hereto irrevocably consents to service of process in any
of the aforementioned courts by the mailing of copies thereof by registered or certified mail,
postage prepaid, or by recognized overnight delivery service, to such party at such party’s
address referred to in Section 12. Nothing herein shall affect the right of any party hereto to
serve process in any other manner permitted by law.

10. Certain Restrictions and Covenants.

(a) GuarantyCo hereby covenants that it will not become a party to (or assume
any obligations under) the Ricketts Subordinated Loan Commitment Agreement.

(b) Company covenants that it will not borrow money or refinance existing
indebtedness (other than the Senior Debt Financing, any Refinancing Debt with respect to the
Senior Debt Financing, and any loan pursuant to the Ricketts Subordinated Loan Commitment
Agreement to the extent such loan does not exceed Thirty-Five Million Dollars ($35,000,000))
unless the obligation to repay said indebtedness is subordinated (including, but not limited to,
with respect to maturity, priority of payment, and rights to collateral), on terms reasonably
acceptable to the Protected Members, to the Company’s obligations under this Agreement.

(c) The Ricketts Parties hereby covenant that GuarantyCo holds, and shall
continue to hold, cash and Cash Equivalents with a value at least equal to (i) the Maximum
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Guaranty Amount, minus (ii) the aggregate amount of any Make-Whole Payments made by
GuarantyCo to the Protected Members pursuant to this Agreement; provided that (A) the
Ricketts Parties further hereby covenant that an amount of such assets having a liquidation value
(taking into account any breakage costs associated therewith) of at least the foregoing difference
(i.e., the foregoing clause (i) minus clause (ii) above) shall be held by GuarantyCo in a securities
account (the “Blocked Account”) with respect to which a blocked account control agreement and
a security agreement in the forms attached hereto as Exhibits C-1 and C-2 (with such changes
thereto as shall be acceptable to the Protected Members in their sole and absolute discretion) are
and remain in effect for the benefit of the Protected Members and (B) with respect to Cash
Equivalents held in the Blocked Account, at no time shall more than $2.0 million of such Cash
Equivalents have a maturity greater than one (1) year from such time. The Protected Members
agree that (w) they will not deliver a notice of exclusive control under the blocked account
control agreement attached hereto as Exhibit C-1 unless and until a breach of this Agreement has
occurred and is continuing; and (x) the Protected Members shall send written notice rescinding
said notice of exclusive control upon a cure of any such breach. The Protected Members shall
provide written notification to all the parties to said blocked account control agreement upon the
termination of the Tax Matters Agreement or the Protected Members’ security interest in the
Account.

(d) GuarantyCo shall not exercise any right of subrogation, contribution,
indemnity or reimbursement or any other rights it may have now or hereafter have, and any and
all rights of recourse to the Company or Ricketts or any of the Company’s or Ricketts’ assets
with respect to any payment it makes under this Agreement until (i) all of the Obligations (other
than contingent indemnification obligations not yet asserted by the Person entitled thereto) shall
have been indefeasibly paid in cash, and (ii) no Person has any further right to obtain any loans,
advances or other extensions of credit under any of the Loan Documents.

(e) The Ricketts Parties shall inform the Protected Member promptly after
receipt of any communication from any Major League Baseball Entity indicating that a Written
MLB Requirement may be forthcoming.

11. Entire Agreement; Amendments and Waivers. This Agreement (including any of
the schedules and exhibits hereto) contains the entire agreement by and between the parties
hereto with respect to the subject matter hereof and all prior negotiations, writings and
understandings relating to the subject matter of this Agreement, are merged in and are
superseded and cancelled by, this Agreement. This Agreement may not be modified or amended
except by an instrument or instruments in writing signed by Ricketts, GuarantyCo, the Company
and Tribune. Any party hereto may, only by an instrument in writing, waive compliance by any
other party or parties hereto with any term or provision hereof on the part of such other party or
parties hereto to be performed or complied with. No failure or delay of any party in exercising
any right or remedy hereunder shall operate as a waiver thereof, nor will any single or partial
exercise of any right or power, or any abandonment or discontinuance of steps to enforce such
right or power, preclude any other or further exercise thereof or the exercise of any other right or
power. The waiver by any party hereto of a breach of any term or provision hereof shall not be
construed as a waiver of any subsequent breach. The rights and remedies of the parties
hereunder are cumulative and are not exclusive of any rights or remedies that they would
otherwise have hereunder. In the event any provision in any other Transaction Document shall

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in any way conflict with the provisions of this Agreement (except where a provision therein
expressly provides that it is intended to take precedence over this Agreement), this Agreement
shall control.

12. Notices. All notices and other communications hereunder will be in writing and
given by certified or registered mail, return receipt requested, nationally recognized overnight
delivery service, such as Federal Express or facsimile (or like transmission) with confirmation of
transmission by the transmitting equipment or personal delivery against receipt to the party to
whom it is given, in each case, at such party’s address or facsimile number set forth below or
such other address or facsimile number as such party may hereafter specify by notice to the other
parties hereto given in accordance herewith. Any such notice or other communication shall be
deemed to have been given as of the date so personally delivered or transmitted by facsimile or
like transmission (with confirmation of receipt), on the next Business Day when sent by
overnight delivery services or five days after the date so mailed if by certified or registered mail.

If to the Ricketts Parties or the Company, to:

c/o Incapital LLC

200 S. Wacker, Suite 3700
Chicago, IL 60606

Fax No.: (312) 379-3701
Attention: Thomas Ricketts

With a copy (which shall not constitute notice) to:

Hugo Enterprises LLC
1395 S. Platte River Drive
Denver, CO 80223

Fax No.: (303) 200-7806
Attention: Alfred P. Levitt

and

Foley & Lardner LLP

777 E. Wisconsin Avenue

Milwaukee, WI 53202

Fax No.: (414) 297-4900

Attention: Mary K. Braza and Patrick G. Quick

If to any of the Protected Members, to:

Tribune Company

435 North Michigan Avenue
Chicago, Illinois

Facsimile No.: (312) 222-4206
Attention: General Counsel

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With a copy (which shall not constitute notice) to:

McDermott Will & Emery LLP
600 13th Street, N.W.
Washington, D.C. 20005
Facsimile No.: (202) 756-8087
Attention: Blake D. Rubin and
Andrea M. Whiteway

13. Severability. Any provision hereof that is held to be invalid, illegal or
unenforceable in any respect by a court of competent jurisdiction, shall be ineffective only to the
extent of such invalidity, illegality or unenforceability, without affecting in any way the
remaining provisions hereof, so long as the economic or legal substance of the transaction,
contemplated by this Agreement is not affected in any manner materially adverse to any party;
provided, however, that the parties will attempt in good faith to reform this Agreement in a
manner consistent with the intent of any such ineffective provision for the purpose of carrying
out such intent.

14. __ Binding Effect; Third-Party Beneficiaries. This Agreement shall be binding upon
and inure to the benefit of the parties hereto and their respective successors and permitted
assigns. This Agreement is not intended to confer upon any Person not a party hereto (or their
successors and permitted assigns) any rights or remedies hereunder. No Protected Member
other than the Tribune Members shall have any right under this Agreement (including any right
to receive Make-Whole Payments) unless such Protected Member agrees in writing to be bound
by all the provisions of this Agreement.

15. Assignment. No party hereto may assign its rights or delegate its obligations
hereunder, directly or indirectly (by operation of law or otherwise), without the prior written
approval of the other parties hereto and any purported assignment or delegation in violation of
this Agreement shall be null and void ab initio; provided however, that (i) if a Protected Member
makes a Permitted Disposition of all or any portion of its Membership Interest (including, but not
limited to, an assignment by the Tribune Members pursuant to a Plan of Reorganization) and
(ii) the adjusted tax basis of such Membership Interest to the assignee is determined in whole or
in part by reference to the adjusted tax basis of such Membership Interest in the hands of such
Protected Member, then such Protected Member’s rights under this Agreement may be assigned
to such assignee without such prior written approval. The amount payable to any assignee of a
Protected Member’s rights under this Agreement shall take into account any positive adjustment
under Section 743(b) of the Code with respect to such assignee. No transfer or assignment,
whether permitted or otherwise, of any party’s Membership Interest shall operate to relieve any
party of its obligations hereunder.

16. Neutral Construction. With regard to each and every term and condition of this
Agreement and any and all agreements and instruments subject to the terms hereof, the parties
hereto understand and agree that the same have been mutually negotiated, prepared and drafted,
and if at any time the parties hereto desire or are required to interpret or construe any such term
or condition of this Agreement or any agreement or instrument subject hereto, no consideration
will be given to which party hereto actually prepared, drafted or requested any term or condition

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of this Agreement or any agreement or instrument subject hereto. Any reference to any law shall
be deemed also to refer to all rules and regulations promulgated thereunder, unless the context
requires otherwise.

17. Counterparts. This Agreement may be executed in one or more counterparts, all
of which shall be considered one and the same agreement, all of which shall be considered one
and the same agreement, and will become effective when one or more counterparts have been
signed by a party and delivered to the other parties. Copies of executed counterparts transmitted
by telecopy, telefax or other electronic transmission service shall be considered original executed
counterparts for purposes of this Section 17, provided that receipt of copies of such counterparts
is confirmed.

18. Waiver of Jury Trial. EACH PARTY HERETO, FOR ITSELF AND ITS
AFFILIATES, HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW ALL RIGHT TO TRIAL BY
JURY IN ANY ACTION (WHETHER BASED ON CONTRACT, TORT OR OTHER WISE)
ARISING OUT OF OR RELATING TO THE ACTIONS OF THE PARTIES HERETO OR
THEIR RESPECTIVE AFFILIATES PURSUANT TO THIS AGREEMENT OR IN THE
NEGOTIATION, ADMINISTRATION, PERFORMANCE OR ENFORCEMENT HEREOF. .
THE PARTIES AGREE THAT ANY SUCH CLAIM OR CAUSE OF ACTION SHALL BE
TRIED BY A COURT TRIAL WITHOUT A JURY. WITHOUT LIMITING THE
FOREGOING, THE PARTIES FURTHER AGREE THAT THEIR RESPECTIVE RIGHT TO
A TRIAL BY JURY IS WAIVED BY OPERATION OF THIS SECTION AS TO ANY
ACTION, COUNTERCLAIM OR OTHER PROCEEDING WHICH SEEKS, IN WHOLE OR
IN PART, TO CHALLENGE THE VALIDITY OR ENFORCEABILITY OF THIS
AGREEMENT OR ANY PROVISION HEREOF. THIS WAIVER SHALL APPLY TO ANY
SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO
THIS AGREEMENT.

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IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
by their respective officers thereunto duly authorized, as of the date first written above.

RICKETTS ACQUISITION LLC

By:

Name:
Title:

MMR TMA GUARANTYCO, LLC

By:

Name: Thomas Ricketts
Title: Manager

CHICAGO BASEBALL HOLDINGS, LLC

By:

Name:
Title:

TRIBUNE COMPANY

By:

Name:
Title:

CHICAGO NATIONAL LEAGUE BALL
CLUB, LLC

WRIGLEY FIELD PREMIUM TICKET
SERVICES, LLC

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TRIBUNE SPORTS NETWORK
HOLDINGS, LLC

By:
Name:
Title:

CHICAGO CUBS DOMINICAN
BASEBALL OPERATIONS, LLC

By:
Name:
Title:

